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             IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE DISTRICT OF DELAWARE

In re:                           )     Chapter 11
                                 )
RCS CAPITAL CORPORATION, et al., )
                                 )     Case No. 16-10223 (MFW)
          Debtors.               )     Jointly Administered
                                 )
_______________________________ )
                                 )
RCS Creditor Trust,              )
                                 )
          Plaintiff,             )
                                 )
     v.                          )     Adv. No. 18-50204 (MFW)
                                 )
Schulte Roth & Zabel LLP,        )     Adv. D.I. 1, 6, 10, & 12
                                 )
          Defendant.             )
_______________________________ )


                          MEMORANDUM OPINION1

     Before the Court is the Motion filed by Schulte Roth & Zabel

LLP (the “Defendant”) to transfer venue of the above adversary

proceeding to the Southern District of New York.           For the reasons

set forth below, the Motion will be denied.



I.   FACTUAL BACKGROUND

     On January 31, 2016, RCS Capital Corporation (collectively,

with its affiliated debtors, the “Debtors”) filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code.          On

     1
          The Court is not required to state findings of fact or
conclusions of law pursuant to Rule 7052 of the Federal Rules of
Bankruptcy Procedure.  Instead, the facts recited are those
averred in the Complaint, which must be accepted as true for the
purposes of this Motion. Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009).
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May 19, 2016, the Court entered an order confirming the Debtors’

reorganization plan.     (D.I. 769.)      Pursuant to the plan, the RCS

Creditor Trust (the “Plaintiff”) was established, inter alia, to

pursue avoidance actions.       (D.I. 769, Ex. A.)

      On January 30, 2018, the Plaintiff filed a Complaint against

the Defendant seeking to avoid and recover prepetition payments

made to the Defendant in the amount of $584,678.70 pursuant to

sections 547(b) and 548(a)(1)(B) of the Bankruptcy Code.                 (Adv.

D.I. 1.)

      On March 6, 2018, the Defendant filed a motion to transfer

venue.     (Adv. D.I. 5.)   A notice of completion of briefing was

filed on March 30, 2018, and the matter is now ripe for

determination.     (Adv. D.I. 16.)



II.   JURISDICTION

      The Court has jurisdiction over this motion to transfer

venue, which is a core proceeding.         11 U.S.C. § 157(b).           See also

VeraSun Energy Corp. v. West Plains Co. (In re VeraSun Energy

Corp.), No. 08-12606, 2013 WL 3336870, at *2 (Bankr. D. Del. June

28, 2013) (“[T]he Court has jurisdiction over motions to transfer

venue, which are considered core proceedings.”)



III. DISCUSSION

      A.     Applicable Law


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     “[A] proceeding arising under title 11 or arising in or

related to a case under title 11 may be commenced in the district

court in which such case is pending.”         28 U.S.C. § 1409.         A

Bankruptcy Court may transfer venue of an adversary proceeding on

motion of a party in the “interest of justice” or for the

“convenience of the parties.”     Fed. R. Bankr. P. 7087; 28 U.S.C.

§ 1412.

     The party seeking transfer, here the Defendant, bears the

burden of demonstrating that “transfer is appropriate by a

preponderance of the evidence.”        Paul H. Shield, MD, Inc. v.

Northfield Labs. Inc. (In re Northfield Labs. Inc.), 467 B.R.

582, 590 (Bankr. D. Del. 2010) (citing Centennial Coal, Inc. v.

Coal Equity, Inc. (In re Centennial Coal, Inc.), 282 B.R. 140,

144 (Bankr. D. Del. 2002)).

     In deciding a motion for transfer of venue, the Third

Circuit considers numerous factors, including: (1) plaintiff’s

choice of forum, (2) defendant’s forum preference, (3) whether

the claim arose elsewhere, (4) location of the books and records,

(5) the convenience of the parties as indicated by their relative

physical and financial condition, (6) the convenience of the

witnesses — but only to the extent that the witness may actually

be unavailable at trial, (7) the enforceability of the judgment,

(8) practical considerations that would make the trial easy,

expeditious, or inexpensive, (9) the relative administrative


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difficulty in the two fora resulting from congestion of the

courts’ dockets, (10) the public policies of the fora, (11) the

familiarity of the judge with the applicable state law, and (12)

the local interest in deciding local controversies at home.

Jumara v. State Farm Ins. Co., 55 F.3d 873, 879 (3d Cir. 1995);

Holdings II Corp. v. Home Depot, Inc. (In re DHP Holdings II

Corp.), 435 B.R. 264, 273 (Bankr. D. Del. 2010) (applying the

Jumara factors to a transfer of venue motion in an adversary

proceeding).   The Court has the discretion to determine the

weight of each factor on a case-by-case basis.          Jumara, 55 F.3d

at 883; DHP, 435 B.R. at 269.

          1.    Plaintiff’s Choice of Forum

     The Plaintiff selected this forum.        The Plaintiff contends

that deference is given to the plaintiff’s choice of forum if it

is legally proper.   Jumara, 55 F.3d at 880 (“courts normally

defer to a plaintiff’s choice of forum”).        See also,      Visteon v.

Governor Bus. Solutions (In re Visteon Corp.), No. 09-11786, 2011

WL 5025004, at *1 (Bankr. D. Del. Oct. 21, 2011) (finding that

deference to a plaintiff’s choice of forum is proper in an

avoidance action).

     The Defendant counters that deference is lessened when, as

here, a plaintiff sues in a representative capacity.            See, e.g.,

Lou v. Belzberg, 834 F.2d 730, 739 (9th Cir. 1987) (“when an

individual brings a derivative suit or represents a class, the


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named plaintiff’s choice of forum is given less weight.”); Rader

v. Bruister, No. 2:10-cv-00222, 2010 WL 2179799, *5 (E.D. Cal.

2010) (finding that deference should be lessened when the

plaintiff brings an action in a representative capacity).                Giving

less deference to a representative plaintiff “serves as a guard

against the dangers of forum shopping, especially when a

representative plaintiff does not reside within the district.”

Martinez v. Knight Transportation, Inc., No. 116CV01730DADSKO,

2017 WL 2722015 (E.D. Cal. June 23, 2017) (citation omitted)

(holding that the plaintiff’s choice of forum is given less

deference when the plaintiff brings an action on behalf of a

nationwide class and does not reside in the district).

     The Court disagrees with the Defendant that the Plaintiff’s

choice of forum should be given less deference here.               The

rationale for giving less deference to a representative plaintiff

due to forum shopping concerns is inapplicable to a trust in a

bankruptcy case.     The Plaintiff is suing on behalf of the

bankruptcy estate which is created by the filing of the

bankruptcy case in this district.         It is therefore proper for the

Plaintiff to file all avoidance actions in the same forum as the

underlying bankruptcy case.       Consequently, the Court will give

the usual deference to the Plaintiff’s choice of venue and this

factor weighs in favor of the adversary proceeding remaining in

Delaware.


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          2.   Defendant’s Forum Preference

     The Defendant prefers the Southern District of New York.

The Plaintiff responds that the Defendant’s choice of forum

should receive less weight than the Plaintiff’s choice of forum.

Hechinger Liquidation Trust v. Fox (In re Hechinger Inv. Co. Of

Del., Inc.), 296 B.R. 323, 326 (Bankr. D. Del. 2003).

     The Court agrees with the Plaintiff.         While this factor

weighs in the Defendant’s favor, it is not given as much weight

as the Plaintiff’s choice of forum.

          3.   Whether the Claim Arose Elsewhere

     The Defendant argues that the claims arose in the Southern

District of New York because all relevant facts, including the

challenged payments, occurred there.        The Plaintiff responds that

the claims are for the avoidance of preferential and fraudulent

transfers and, therefore, where the underlying contract was

performed is irrelevant.     See, e.g, Stone & Webster, Inc. v.

Couts Heating & Cooling, Inc. (In re Stone & Webster, Inc.), No.

02-3974, 2003 WL 21356088, at *2 (Bankr. D. Del. June 10, 2003)

(noting that the relevant transactions in an avoidance action are

the “sending and receiving of invoices and checks, and perhaps

the exchange of communication regarding the timing of

payments.”); HLI Creditor Trust v. Keller Rigging Const. (In re

Hayes Lemmerz Int’l, Inc.), 312 B.R. 44, 45 (Bankr. D. Del. 2004)

(explaining that the location and performance of the underlying


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contract are not at issue in an avoidance action).

     The Court agrees with the analysis of the cases cited by the

Plaintiff.   While the Defendant may have provided legal services

to the Debtors in New York, it is not the performance of that

agreement that is at issue.     However, to the extent the payments

may have been made in the Southern District of New York, this

factor favors transfer.

                a.   Forum Selection Clause in Contract

     The Defendant also argues that the engagement letter,

executed by the parties on March 4, 2015, includes a forum

selection clause requiring that any dispute be resolved in the

Southern District of New York.     (Adv. D.I. 8, Ex. A.)          The

Defendant asserts that the Plaintiff’s attempt to recover

payments made under that agreement triggers the forum selection

clause.

     The Plaintiff argues that a forum selection clause in an

underlying contract does not bind a liquidating trustee’s choice

of forum in an avoidance action because the avoidance action

arises by statute separate from the underlying contract.               Charys

Liquidating Trust v. McMahan Sec. Co., L.P., (Charys Holding Co.,

Inc.), 443 B.R. 628, 634-35. (Bankr. D. Del. 2010) (noting that

an avoidance action arises irrespective of any contract between

the parties); AstroPower Liquidating Trust v. Xantrex Tech. Inc.




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(In re AstroPower Liquidating Trust), 335 B.R. 309, 328 (Bankr.

D. Del. 2005) (same).

     Further, the Plaintiff argues that the Debtors’ creditors,

the ultimate parties-in-interest in this avoidance action, were

not a party to the original contract or bound by the forum

selection clause.   AstroPower, 335 B.R. at 328 (reasoning that

avoidance actions under the Bankruptcy Code are “derivative in

nature; the transferor’s creditors are the real parties in

interest.”).   Therefore, the Plaintiff asserts that it should not

be bound by a forum selection clause in a contract to which the

creditors are not parties.    Charys, 443 B.R 628, 635 (“the real

parties in interest are the debtor’s creditors, who were not

parties to the original contract.      As a result, Plaintiffs are

not bound by the forum selection clause . . . .”)

     The Court agrees with the reasoning in AstroPower and Charys

and concludes that the forum selection clause does not require

transfer of venue of this adversary proceeding.

          4.    Location of the Books and Records

     The Defendant argues that venue should be transferred

because all pertinent records are located in the Southern

District of New York.   The Plaintiff responds that discovery in

an avoidance action is often limited to electronic records,

rendering this factor unimportant.      Hayes Lemmerz, 312 B.R. at 47

(citing Stone & Webster, 2003 WL 21356088, at *2)) (finding that

when discovery is largely limited to “‘paper exchanges,’ the

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physical location of books and records is of less concern.”).

See also, LMI GUC Trust v. Clairvest Equity Partners Ltd. P’ship

(In re LMI Holdings, Inc.), 553 B.R. 235, 255 (Bankr. D. Del.

2016) (deciding that this factor is unimportant when there is no

physical evidence that needs to be brought to court).

     The Court agrees with the Plaintiff that discovery in this

proceeding will largely be electronic documents.           The Defendant

does not describe any relevant documents or physical evidence

that would make the Southern District of New York a better forum.

The only documents cited by the parties as germane to the

avoidance actions are the type of “paper exchanges” that can

easily be transferred electronically.       Thus, the Court finds this

factor to be neutral.

          5.   Convenience of the Parties

     The Defendant argues that it is located in New York, making

litigation costs less expensive there.       Further, the Defendant

notes that the Plaintiff will not incur any additional expense

prosecuting the action in the Southern District of New York

because Plaintiff’s counsel has a New York office.            The Plaintiff

responds that technology exists to ease the Defendant’s burden

and that the Defendant has traveled extensively to Delaware.2


     2
          Cases in which the Defendant appeared in Delaware
include: Patriot National, Inc., Case No. 18-10189 (Representing
interested party Cerberus Business Finance, LLC); TSWAD Holdings,
Case No. 16-10527 (Defendant representing interested party TPG
Speciality Lending, Inc.); Maxus Energy Corporation, Case No. 16-
11501 (Representing the Official Committee of Unsecured

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     Comparatively, transferring venue inconveniences the

Plaintiff.    There is a temporal and financial burden on a

liquidating trustee if it must pursue avoidance actions in

multiple fora.    See Hechinger, 296 B.R. at 327.          In this case,

the Plaintiff has commenced multiple avoidance actions and would

be inconvenienced if the Court transferred one or more actions to

the defendants’ preferred fora.

     While the Court agrees that New York would be a more

convenient forum for the Defendant, it is noteworthy that the

Defendant routinely appears before this Court. Further, the

Defendant mischaracterizes the United States Bankruptcy Court for

the District of Delaware when it calls it a “distant forum”: it

is slightly more than 100 miles and a two hour train ride from

New York.    Finally, though the Plaintiff’s counsel, ASK LLP, does

have a New York office, the Defendant has already retained

Delaware counsel for this adversary proceeding.

     For these reasons, the Court finds the fifth factor weighs

in favor of the adversary proceeding remaining in Delaware.

             6.   Convenience of the Witnesses

     The Defendant argues that all potential witnesses are



Creditors); Milagro Holdings, Case No. 15-11520 (Representing
creditor TPG Speciality Lending, Inc.); and RS Legacy
Corporation, Case No. 15-10197 (Representing interested party
Cerberus Levered Loan Opportunities Fund II, L.P. and Cerberus
ASRS Holdings LLC). In addition, the Defendant was retained in
this very bankruptcy case as an Ordinary Course Professional.
(D.I. 607.)

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located in the Southern District of New York and that the Court

would not be able to compel testimony in Delaware.               The Plaintiff

responds that the convenience of the witnesses is only a factor

to the extent that the witnesses may “actually be unavailable for

trial in one of the fora.”      Jumara, 55 F.3d at 879; Hayes

Lemmerz, 312 B.R. at 47.

     Here, there is no indication that the Plaintiff’s or

Defendant’s potential witnesses will not appear voluntarily in

this Court.      Thus, the Defendant has not met its burden of

establishing that witnesses would be unavailable in Delaware.

     Additionally, the Plaintiff contends that avoidance actions

rarely go to trial and typically last less than one day.                  Stone &

Webster, 2003 WL 21356088, at *2 n.2 (“the vast majority, perhaps

90%, of avoidance actions do not go to trial”).              Considering the

short distance between New York and Delaware, as well as the

small likelihood any witness will actually be needed, the Court

does not heavily weigh this factor.          To the extent it does, this

factor favors transfer.

            7.     Enforceability of the Judgment

     Judgments by this Court and the Southern District of New

York are equally entitled to full faith and credit.               See, e.g.,

OCB Rest. Co. v. Vlahakis (In re Buffets Holdings, Inc.), 397

B.R. 725, 729 (Bankr. D. Del. 2008).          Thus, this factor is

neutral.


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             8.   Practical Considerations

     The Defendant contends that practical considerations make a

trial in the Southern District of New York more efficient.              The

Plaintiff counters that:

     [m]aintaining [an] adversary proceeding in the same
     venue as the bankruptcy case would provide a more
     economical use of judicial resources than transferring
     [an] adversary proceeding . . . because the Court is
     already familiar with the facts underlying the
     bankruptcy case. Further the Trustee is involved in
     multiple other preference actions pending in Delaware,
     thereby minimizing the cost of litigation.

In re Visteon, 2011 WL 5025004, at *3 (citing Giuliano v. Harko,

Inc. (In re NWL Holdings, Inc.), Case No. 10-52768, 2011 WL

767777 at *6 (Bankr D. Del. Feb. 24, 2011)).            See also, Hayes

Lemmerz, 312 B.R. at 47 (recognizing that if one adversary

proceeding were required to be tried in another district, estate

funds and time would be squandered unnecessarily).

     The Court agrees with the Plaintiff that keeping the

adversary proceeding in Delaware would minimize estate costs and

make a potential trial more expeditious because the adversary

proceeding is already pending in this Court.            Thus, this factor

weighs in favor of keeping the action in Delaware.

             9.   Relative Administrative Difficulty

     It is in the interest of judicial economy for the Court to

retain an adversary proceeding, so long as its caseload is not

too heavy.    Hayes Lemmerz, 312 B.R. at 47.        This adversary

proceeding does not overburden the Court.          Consequently, this

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factor weighs in favor of keeping this adversary proceeding in

Delaware.

            10.   Public Policies of the Fora

     The Plaintiff argues that if the Court transferred the

Defendant’s adversary proceeding, it would open the door to

motions from all defendants to transfer their adversary

proceedings.

     The Court agrees with the Plaintiff.          In Hechinger, the

Court articulated how transferring the venue of an avoidance

action creates a slippery slope:

     If Defendant were successful in having this case
     transferred . . . it would establish a basis for
     transferring hundreds, if not thousands, of preference
     actions away from the forum of the debtor’s chapter 11
     case, resulting in considerable additional cost to the
     estate or causing the debtor (or trustee) to forgo
     pursuit of preference actions, thereby undermining the
     intended effect of 11 U.S.C. § 547 of equalizing
     distribution to creditors.

Hechinger, 296 B.R. at 327 (Bankr. D. Del. 2003) (holding that

there is a strong public policy of centralizing avoidance actions

in the forum of the underlying bankruptcy case).

     Here, like other chapter 11 cases, the Plaintiff is pursuing

multiple avoidance actions.    Transfer of venue would burden the

estate and reduce creditors’ recovery.         Therefore, public policy

strongly supports keeping the adversary proceeding in Delaware.

            11.   Familiarity with Applicable State Law

     No underlying state law issues have been raised.              Therefore,

this factor is neutral.

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            12.    Local Interest

      Finally, the Defendant does not argue that any local

interest in the Southern District of New York exists to warrant

transfer.   Even if there were, the Court’s interest in enforcing

the “fundamental tenet of centralized resolution of purely

bankruptcy issues” offsets any potential interest the Southern

District of New York may have in the proceeding.               In re APF Co.,

264 B.R. 344, 364 (Bankr. D. Del. 2001).



IV.   CONCLUSION

      The Court finds that the Jumara factors weigh in favor of

denying the Defendant’s motion to transfer venue.               The Defendant

has not carried its burden to show that transfer is appropriate

by a preponderance of the evidence.          For the foregoing reasons,

the Court will deny the Defendant’s motion to transfer venue.

      An appropriate Order follows.




Dated: May 17, 2018                    BY THE COURT:



                                       Mary F. Walrath
                                       United States Bankruptcy Judge




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